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                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
                                  1:17-cr-00224-AT-CMS
                                  USA v. Pendergrass et al
                                 Honorable Amy Totenberg

                  Minute Sheet for proceedings held In Open Court on 02/24/2025.


    TIME COURT COMMENCED: 10:40 A.M.               COURT REPORTER: Shannon Welch
    TIME COURT CONCLUDED: 11:35 A.M.               CSO/DUSM: 1 CSO
    TIME IN COURT: 00:55                           USPO: Alex Moody
    OFFICE LOCATION: Atlanta                       DEPUTY CLERK: Keri Gardner

DEFENDANT(S):      [1]Allen J. Pendergrass Present at proceedings
ATTORNEY(S)        Saraliene Durrett representing Allen J. Pendergrass
PRESENT:           Tracia King representing USA
                   Sydney Strickland representing Allen J. Pendergrass
PROCEEDING
                   Sentencing Hearing(Sentencing Hearing Non-evidentiary);
CATEGORY:
MINUTE TEXT:       The Court of Appeals for the 11th Circuit vacated the sentence originally
                   imposed on August 26, 2022 and remanded for resentencing to allow the
                   defendant his right of allocution. At the resentencing hearing, the Defendant
                   given right of allocution. The Court imposed a new sentence and informed
                   the Defendant of his right to appeal. The defendant shall surrender for
                   service of his sentence as directed by the BOP no sooner than May 12, 2025.
                   See J&C for sentence.
HEARING STATUS:    Hearing Concluded
